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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                                                                       8:17CR103
                      Plaintiff,

       vs.
                                                                         ORDER
GABRIELLA VALDEZ, RIGOBERTO
CERVANTES,

                      Defendants.


       The defendant, Gabriella Valdez, has moved to continue the trial in the above case
(filing no. 109). The motion to continue is unopposed by counsel for the Government. Based on
the showing set forth in the motion, the court finds the motion should be granted. Accordingly,

       IT IS ORDERED:

       1)      Defendant Gabriella Valdez's unopposed motion to continue trial in the above
               case (filing no. 109) is granted.

       2)      The trial of this case as to defendants Gabriella Valdez and Rigoberto Cervantes
               is set to commence before the Honorable John M. Gerrard, United States District
               Judge, in the Special Proceedings Courtroom of the United States Courthouse,
               Omaha, Nebraska, at 9:00 a.m. on January 29, 2018, or as soon thereafter as
               the case may be called. Jury selection will be held at commencement of trial.

       3)      Failing to timely object to this order as provided under this court’s local rules will
               be deemed a waiver of any right to later claim the time should not have been
               excluded under the Speedy Trial Act.

       December 4, 2017.

                                                      BY THE COURT:

                                                      s/ Susan M. Bazis
                                                      United States Magistrate Judge
